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                                        IN THE UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF ARKANSAS
                                                 FORT SMITH DIVISION



                UNITED STATES OF AMERICA                                                 PLAINTIFF


                v.                                       No. 0:05CR20067-002


                JUAN G. PEDRAZA                                                          DEFENDANT



                                                          ORDER

                        Comes on for consideration defendant Juan G. Pedraza’s motion to compel and for

                emergency hearing. (Doc. 92). The government has responded (Doc. 95-1). Trial is scheduled

                for November 29, 2005.

                        Pedraza seeks the pretrial identity of confidential informants and cooperating co-

                defendants, the prior record of the confidential informants as well as their citizenship status, and

                any plea agreements or promises of leniency involving the cooperating individuals.

                        According to the response to motion, the United States has provided Pedraza a video

                recording of January 7, 2005, allegedly showing him distributing methamphetamine to two

                clearly visible confidential informants; an audio recording of January 11, 2005, made during a

                alleged distribution of methamphetamine by Pedraza to the same informants; copies of

                videotapes of alleged drug trafficking by co-defendants; redacted copies of cooperating

                defendants’ interviews along with reports of interviews dealing with other cooperating




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                defendants; copies of laboratory results of drug analysis of several drug samples; and, copies of

                Pedraza’s criminal history.

                       The government contends that of the 10 confidential informants it has identified in its

                preliminary witness list, only the two confidential informants shown in the video and audio

                records deal with the substantive distribution counts in the indictment against Pedraza. Further,

                of the five cooperating defendants, only two of them, who are well-known to Pedraza, will

                testify concerning the amounts of drugs they were caught with and that the drugs came from

                Pedraza.   The government further contends that on direct examination at trial, it will explore

                any plea agreement or other offer of assistance, as well as felony convictions.

                       I find that Pedraza is aware of the identities of the confidential informants and

                cooperating defendants who will testify against him at trial regarding the substantive counts of

                the indictment. These are the witnesses who allegedly were active participants or witnesses to

                the alleged wrongdoing and Pedraza has not shown pretrial entitlement to the names of other

                confidential informants/cooperating defendants.

                       Further, the government’s expressed intention to inquire on direct examination as to any

                plea agreement or other offer of assistance and to inquire into felony convictions is adequate for

                discovery purposes and defendant has not shown a need for pretrial disclosure. If any plea

                agreement or other offer of assistance has been reduced to writing, these writings should be

                provided Pedraza after direct examination and, as to felony convictions, Pedraza should be

                provided rap sheets of witnesses after their direct examination. Regarding citizenship status, this

                information should be inquired into on direct and/or provided after direct examination, if known.




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                          In accordance with the above, Juan G. Pedraza’s motion for pretrial disclosure is denied.

                In addition, the motion for emergency hearing is denied. This court holds hearings to obtain

                testimony and otherwise expects attorneys to set out the relevant facts and applicable law in their

                briefs.

                          SO ORDERED THIS 10TH DAY OF NOVEMBER, 2005.



                                                                /s/ Beverly Stites Jones
                                                                HON. BEVERLY STITES JONES
                                                                UNITED STATES MAGISTRATE JUDGE




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